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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 1 of 20

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Attorney for Plaintiff, VIRGINIA JOHANSEN

UNITED STATES DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

VIRGINIA JOHANSEN, Case No.: 4:21-CV-01892 YGR
Plaintiffs, FIRST AMENDED COMPLAINT FOR
DAMAGES
Vs.
1. Excessive Force (42 U.S.C. §1983)
COUNTY OF NAPA, GREGG LEE, and 2. Battery
DOES 1-10, Inclusive, 3. Negligence
4. Bane Act (Cal. Civil Code §52.1)
Defendants.
DEMAND FOR JURY TRIAL

 

 

 

 

Comes now Plaintiff VIRGINIA JOHANSEN, for her complaint against Defendants
COUNTY OF NAPA, GREGG LEE, and DOES 1 - 10, inclusive, hereby allege as follows:

1. At all relevant times, Brandan Nylander, deceased (“DECEDENT”), was an
individual residing in the County of Napa, California.

2. Plaintiff Virginia Johansen (“JOHANSEN‘) is the maternal grandmother of
DECEDENT. At all relevant times, Plaintiff JOHANSEN resided and currently resides in the
County of Stanislaus, California. Plaintiff JOHANSEN sues in her individual capacity for her
own damages and for survival damages in her capacity as successor in interest to her grandson,
DECEDENT. Plaintiff JOHANSEN seeks wrongful death damages and survival damages under
federal and state law.

3. At all relevant times, Defendant COUNTY OF NAPA (“COUNTY”) is and was a
duly organized public entity existing under the laws of the State of California. At all relevant

times, Defendant COUNTY was the employer of Defendant GREGG LEE (“LEE”), an

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 2 of 20

individual, and DOES 1-10. Defendant COUNTY is liable for the nonfeasance and malfeasance
of Defendant LEE and DOES 1-10 for Plaintiff's state law claims pursuant to Cal. Govt. Code
§815.2(a) (“A public entity is liable for injury proximately caused by an act or omission of an
employee of the public entity within the scope of his employment if the act or omission would,
apart from this section, have given rise to a cause of action against that employee or his personal
representative.”). Defendant COUNTY is directly liable for Plaintiffs claim under federal law
pursuant to Monell and its progeny.

4. At all relevant times, Defendant LEE was and is a deputy sheriff working for the
County of Napa Sheriff's Department. At all relevant times, Defendant LEE was acting under
color of law within the course and scope of his employment with the County of Napa Sheriff's
Department. At all relevant times, Defendant LEE was acting with the complete authority and
ratification of his principal, Defendant COUNTY.

5. At all relevant times, Defendants DOES 1-5 (‘DOE DEPUTIES”) were deputy
sheriffs working for the County of Napa Sheriff's Department. DOE DEPUTIES were acting
under color of law within the course and scope of their employment with Defendant COUNTY,
including the County of Napa Sheriff's Department. DOE DEPUTIES were acting with the
complete authority and ratification of their principal, Defendant COUNTY.

6. At all relevant times, Defendants DOES 6-10 (SSUPERVISORY DOES”) were
and are managerial, supervisorial, and policymaking employees of the County of Napa Sheriff's
Department, who were acting under color of law within the course and scope of their
employment. SUPERVISORY DOES were acting with the complete authority and ratification of
their principal, Defendant COUNTY.

7. On information and belief, Defendant LEE and DOES 1-10 are residents of
Defendant COUNTY.

8. In doing the acts and failing and omitting to act as hereinafter described,
Defendants LEE and DOES 1-10 were acting on the implied and actual permission and consent of
Defendant COUNTY.

9. At all times mentioned herein, each and every Defendant was the agent of each and
every other Defendant and had the legal duty to oversee and supervise the hiring, conduct and

employment of each and every Defendant.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 3 of 20

10. The true names of Defendants DOES 1-10, inclusive, are unknown to Plaintiff
JOHANSEN at this time, who therefore sue these Defendants by such fictitious names. Plaintiff
JOHANSEN will seek leave to amend this complaint to show the true names and capacities of
these Defendants when they hazve been ascertained. Each of the fictitious named Defendants is
responsible in some manner for the conduct and liabilities alleged herein.

11. Plaintiff JOHANSEN timely and properly filed tort claims pursuant to California
Government Code §910 et. seq., and this action is timely filed within all applicable statutes of
limitation. Attached hereto as Exhibit “A” is a true and correct copy of Plaintiff JOHANSEN
Claim against the County of Napa was on mailed August 6, 2020.

JURISDICTION AND VENUE

12. This civil action is brought for the redress of alleged deprivations of rights under
the laws of the State of California and constitutional rights protected by 42 U.S.C. §§1983, 1985,
1986, 1988 and the First, Fourth, and Fourteenth Amendments to the United States Constitution.
Jurisdiction is founded on 28 U.S.C. §§1331, 1334, and 1367.

13. Venue is proper in this Court under 28 U.S.C. §1391(b), because Defendants
reside in, and all incidents, events, and occurrences giving rise to this action occurred in the
County of Napa, California.

FACTS COMMON TO ALL CLAIMS FOR RELIEF

14. Plaintiff repeats and re-alleges each and every allegation in paragraphs | through
13 of this Complaint with the same force and effect as if fully set forth herein.

15. On April 24, 2020, shortly after Defendant LEE began his shift at 2:25 P.M., he
received a dispatch that a robbery had occurred at a Wal-Mart store in the City of Napa with a
description of the suspect and suspect vehicle. It was alleged that a young man fitting
DECEDENT’s description had entered the Wal-Mart and used a hammer to break a glass display
case containing ammunition. The suspect allegedly grabbed a box of shotgun shells and threw the
hammer, hitting a Wal-Mart employee. Approximately 20 minutes later, Defendant LEE spotted
DECEDENT driving on SR-29, DECEDENT allegedly led Defendant LEE on a pursuit that
lasted approximately three minutes.

16. DECEDENT?’s vehicle turned off of SR 29 onto Airport Road and ultimately

turned onto a paved driveway where it came to a stop at a cyclone fence with a closed gate.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 4 of 20

Defendant LEE stopped his vehicle 3 to 6 feet behind DECEDENT’s vehicle and less than 20 feet
away from DECEDENT.

17. Defendant LEE observed DECEDENT’s driver’s door open, DECEDENT’s leg
come out, and DECEDENT carrying a long gun. Defendant LEE immediately exited his vehicle
and positioned himself behind his open door with his pistol in hand and immediately began firing.

18. | As the DECEDENT exited his vehicle, he was holding a shotgun in his left hand
by the forearm. His right hand was in a cast. He briefly swept the muzzle from a downward
position to a straight-up vertical position in less than one second, never pointing the muzzle
directly at Defendant LEE. DECEDENT immediately stepped from his vehicle raising both arms
into the air and turning his back to Defendant LEE.

19. | Defendant LEE could not remember putting his vehicle in park, removing his
seatbelt, opening his door, or even hearing his own gunfire. He remembered instinctively yelling
something similar to “no” or “stop”. He did not recall giving DECEDENT any other commands.
He did not remember thinking about being fearful for anyone but himself.

20. The investigation revealed that Defendant LEE fired two rounds immediately from
less than 20 feet and missed. He then “reassessed” and fired two additional rounds which struck
DECEDENT in the left buttock and cervical spine, killing DECEDENT. Both bullets that struck
DECEDENT traveled back to front indicating that Defendant LEE shot DECEDENT in the back
while DECEDENT’s hands were up in a vertical position.

21. After Defendant LEE fired the first two rounds, missed, and “reassessed”,
Defendant LEE stated that he fired the two additional rounds because he did not see the
DECEDENT react to the initial gun fire, even though the dash camera video clearly illustrates
DECEDENT immediately raised his arms and turned his back in an attempt to surrender to
Defendant LEE in response to the first two rounds fired. At the time DECEDENT was shot, he
posed no imminent threat of great bodily injury to anyone, including Defendant LEE.

22. | DECEDENT took a total of 5 steps after exiting his vehicle with his back turned to
Defendant LEE before he was fatally shot and 7 seconds elapsed from the time DECEDENT
opened his door until he fell to the ground.

23. Defendant COUNTY Deputy Sheriff Frank Walsh was the third law enforcement
officer on scene. As he drove up to the other law enforcement vehicles, he saw DECEDENT’s

vehicle “creep into the fence.” Defendant LEE was already out of his vehicle, standing at the A-

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 5 of 20

pillar of his vehicle behind the driver’s door with his service firearm drawn and pointed at
DECEDENT before DECEDENT exited his vehicle. DECEDENT’s exit from his vehicle
appeared to Deputy Walsh to be “very slow and deliberate”. DECEDENT “did not appear to want
to flee” and “he did not get out of the car in a hurry”. Although Defendant LEE told investigators
that DECEDENT pointed the shotgun at him, Deputy Walsh, who was standing 15 to 20 feet
behind Defendant LEE before any shots were fired, indicated that he only saw the barrel of the
shotgun pointed vertically and in an upward direction. DECEDENT was also essentially “pinned”
between officers and the locked fence. Deputy Walsh also did not hear Defendant LEE give any
commands to DECEDENT and observed DECEDENT’s right hand in a cast.

24. By Defendant COUNTY Sheriff’s Department’s own calculations, approximately
four seconds elapsed between the first volley of shots and the second volley of shots fired by
Defendant LEE. In the interim, DECEDENT put his hands up, turned his back to Defendant LEE
and held the shotgun in a non-threatening manner with his left hand on the forearm and the barrel
pointed upward in a vertical position. DECEDENT was clearly attempting to surrender to
Defendant LEE. At the time the fatal shot was fired by Defendant LEE, DECEDENT did not pose
an imminent threat of great bodily injury or death to anyone.

25.  Inspite of the facts set forth above, Defendant COUNTY District Attorney Allison
Haley concluded in her December 31, 2020 report that “The use of deadly force on April 24, 2020
by NSO Deputy Gregg LEE was a reasonable and lawful response under the totality of the
circumstances. Therefore, his actions were legally justified and criminal charges against him are
neither warranted nor supported by the evidence.” Ms. Haley goes on to state that, “This review
conducted within the scope and jurisdiction of the District Attorney is complete and final.”

26. At the time of this incident, DECEDENT was the 24-year-old grandson of Plaintiff
JOHANSEN. His biological mother passed away when he was 16 years old and his biological
father’s identity is unknown. DECEDENT had no siblings. DECEDENT’s only surviving
grandparent is Plaintiff JOHANSEN. Consequently, Plaintiff JOHANSEN is DECEDENT’s
successor in interest as defined in §377.11 of the California Code of Civil Procedure and succeeds
to DECEDENT’s interest in this action as the only surviving grandparent of DECEDENT.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 6 of 20

FIRST CLAIM FOR RELIEF
Fourth Amendment—Excessive Force (42 U.S.C. §1983)
(By Plaintiff JOHANSEN against Defendant LEE)

27. Plaintiff JOHANSEN repeats and realleges each and every allegation in
paragraphs | through 26 of this complaint with the same force and effect as if fully set forth
herein.

28. Defendant LEE used excessive force against DECEDENT when he shot him
multiple times without warning and after DECEDENT clearly attempted to surrender. Defendant
LEE’s unjustified shooting deprived DECEDENT of his right to be secure in his person against
unreasonable searches and seizures as guaranteed to DECEDENT under the Fourth Amendment
to the United States Constitution and applied to state actors by the Fourteenth Amendment.

29. Asaresult of the foregoing, DECEDENT suffered great physical pain and
emotional distress up to the time of his death, loss of enjoyment of life, loss of life, and loss of
earning capacity.

30. The conduct of Defendant LEE was willful, wanton, malicious, and done with
reckless disregard for the rights and safety of DECEDENT, and therefore warrants the imposition
of exemplary and punitive damages as to Defendant LEE.

31. The shooting was excessive and unreasonable, especially because DECEDENT
had immediately raised both hands and fully extended his arms into the air with his left hand on
the forearm of the shotgun, his back to Defendant LEE and no immediate ability to fire the
shotgun or intent to hurt anyone. DECEDENT’s right hand was visibly casted and was fully
extended upward into the air. Further, Defendant LEE’s use of deadly force violated his training,
standard police officer training, and the law enforcement standards set forth in California Penal
Code §835.

32. Plaintiff JOHANSEN brings this claim as successor in interest to DECEDENT and
seeks both survival and wrongful death damages for the violation of DECEDENT’s rights.
Plaintiff JOHANSEN also seeks funeral and burial expenses, punitive damages, and attorney’s
fees pursuant to 42 U.S.C. §1988 and costs of suit.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 7 of 20

SECOND CLAIM FOR RELIEF
Battery (Cal. Govt. Code §820 and California Common Law)
(By Plaintiff JOHANSEN against Defendant LEE)

33. Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 32
of this Complaint with the same force and effect as if fully set forth herein.

34. Defendant LEE, while working as a COUNTY deputy sheriff and acting within the
course and scope of his duties, intentionally shot DECEDENT multiple times. The shooting
constituted the requisite “touching” element, as well as the use of unreasonable force against
DECEDENT to which DECEDENT did not consent. As a result of the actions of Defendant LEE,
DECEDENT suffered severe pain and suffering, and ultimately died from his injuries and lost
earning capacity. Defendant LEE has no legal justification for using force against DECEDENT
and Defendant LEE’s use of force was unreasonable.

35. Asa direct and proximate result of Defendants’ conduct as alleged above, Plaintiff
JOHANSEN has been deprived of the life-long love, companionship, comfort, support, society,
care, and sustenance of DECEDENT, and will continue to be so deprived for the remainder of her
natural life.

36. Defendant COUNTY is vicariously liable for the wrongful acts of the individual
Defendants pursuant to §815.2(a) of the California Government Code, which provides that a
public entity is liable for the injuries caused by its employees within the scope of their
employment if the employee’s acts would subject him or her to liability.

37. The conduct of Defendants was malicious, wanton, oppressive, and accomplished
with a conscious disregard for the constitutional rights of Plaintiff and DECEDENT, entitling
Plaintiff, individually, to an award of exemplary and punitive damages.

38. Plaintiff JOHANSEN brings this claim as a successor in interest to the
DECEDENT, and seeks both survival and wrongful death damages for the violation of
DECEDENT’S rights. Plaintiff JOHANSEN also seeks funeral and burial expenses, punitive
damages, and attorney’s fees pursuant to 42 U.S.C. §1988 and costs of suit.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 8 of 20

THIRD CLAIM FOR RELIEF
Negligence (Cal. Govt. Code §820 and California Common Law)
(Wrongful Death)
(By Plaintiff JOHANSEN against all Defendants)

39. Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 38
of this Complaint with the same force and effect as it fully set forth herein.

40. Police officers, including Defendants, have a duty to use reasonable care to prevent
harm or injury to others. This duty includes using appropriate tactics, giving appropriate
commands, giving warnings, and not using any force unless necessary, using less than lethal
options, and only using deadly force as a last resort.

41. Defendants DOES 1-10 breached this duty of care. Upon information and belief,
the actions and inactions of Defendants LEE and DOES 1-10 were negligent and reckless,
including but not limited to:

a) The failure to properly and adequately assess the need to use force or
deadly force against DECEDENT;

b) The negligent pre-shooting tactics and handling of the situation with
DECEDENT;

c) The negligent use of force, including deadly force, against DECEDENT;

d) The failure to properly train and supervise employees, both professional
and non-professional, including Defendants LEE and DOES 1-10;

e) The failure to ensure that adequate numbers of employees with appropriate
education and training were available to meet the needs of and protect the
rights of people in scenarios that COUNTY deputy sheriffs would
frequently and routinely encounter, such as the subject encounter with
DECEDENT;

e) The failure to ensure that adequate numbers of employees with appropriate

education and training were available to meet the needs of and protect the

rights of DECEDENT;
f) The negligent handling of evidence and witnesses;
g) The negligent communication of information during the incident.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 9 of 20

43. Asa direct and proximate result of Defendants’ conduct as alleged above, and
other undiscovered negligent conduct, DECEDENT was caused to suffer severe pain, suffering,
death and loss of earning capacity. Also, as a direct and proximate result of Defendants’ conduct
as alleged above, Plaintiff JOHANSEN suffered extreme and severe mental anguish and pain and
have been injured in mind and body. Plaintiff JOHANSEN has also been deprived of the life-long
love, companionship, comfort, society, care, and sustenance of DECEDENT, and will continue to
be so deprived for the remainder of her natural life.

44. Defendant COUNTY is vicariously liable for the wrongful acts of Defendants LEE
and DOES 1-10, inclusive, pursuant to §815.2(a) of the California Government Code, which
provides that a public entity is liable for the injuries caused by its employees within the scope of
their employment if the employee’s act would subject him or her to liability.

45. Plaintiff JOHANSEN brings this claim individually and as a successor in interest
to the DECEDENT, and seeks both survival and wrongful death damages for the violation of
DECEDENT’s constitutional rights. Plaintiff JOHANSEN also seeks funeral and burial expenses,
and attorney’s fees pursuant to 42 U.S.C. §1988 and costs of suit.

FOURTH CLAIM FOR RELIEF
Violation of Cal. Civ. Code §52.1 and California Common Law
(By Plaintiff JOHANSEN against Defendant LEE)

46. Plaintiff repeats and realleges each and every allegation in paragraphs 1 through 45
of this Complaint with the same force and effect as it fully set forth herein.

47, The California Civil Code, §52.1(b) authorizes a private right of action for
damages to any person whose constitutional rights are violated. Moreover, “a successful claim for
excessive force under the fourth amendment provides the basis for a successful claim under
§52.1.” Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1105-06 (9th Cir. 2014); citing Cameron
v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013) (“[T]he elements of the excessive force claim under
§52.1 are the same as under §1983.”); Bender v. County of Los Angeles, 217 Cal. App. 4th 968,
976 (2013) (“an unlawful seizure--when accompanied by unnecessary, deliberate and excessive
force--is within the protection of the Bane Act”).

48. Defendant LEE violated DECEDENT’s Fourth Amendment rights to be free from
unreasonable seizures when he used deadly force against DECEDENT by firing multiple fatal
rounds at DECEDENT while DECEDENT had his hands raised with his back to Defendant LEE

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 10 of 20

in an obvious attempt to surrender when DECEDENT did not pose an imminent threat of great
bodily harm to Defendant LEE or any other person.

49. | The conduct of Defendant LEE was a substantial factor in causing the harm,
losses, injuries, and damages of DECEDENT. As a result of the unjustified shooting,

DECEDENT was caused to suffer severe pain and suffering and ultimately died for which he,
through Plaintiff JOHANSEN, as his successor in interest, is entitled to recover survival damages.

50. Defendant COUNTY is vicariously liable for the wrongful acts of Defendant LEE
and pursuant to §815.2(a) of the California Government Code, which provides that a public entity
is liable for the injuries caused by its employees within the scope of their employment if the
employee’s act would subject him or her to liability.

51. The conduct of Defendant LEE was malicious, wanton, oppressive, and
accomplished with a conscious disregard for the rights of DECEDENT, entitling Plaintiff
JOHANSEN to an award of exemplary and punitive damages.

52. Plaintiff JOHANSEN brings her claim as a successor in interest to the
DECEDENT, and seeks both survival and wrongful death damages for the violation of
DECEDENT’s constitutional rights. Plaintiff JOHANSEN also seeks funeral and burial expenses,
punitive damages, and attorney’s fees pursuant to 42 U.S.C. §1988 and costs of suit.

PRAYER FOR DAMAGES

WHEREFORE, Plaintiff VIRGINIA JOHANSEN requests entry of judgment in her favor
and against Defendants COUNTY OF NAPA, GREGG LEE, and DOES 1-10, inclusive, as
follows:

FIRST CAUSE OF ACTION:

1. For compensatory damages and survival damages under federal and state law in
an amount to be proven a trial;

2. For a funeral and burial expenses and loss of financial support;

3, For punitive damages against the individual Defendants GREGG LEE and DOES

1-10 in an amount to be proven at trial;

4. For interest;

5. For reasonable cost of this suit and attorney’s fees under state and federal law;

6. For such further relief at law or equity as the Court or jury may deem just and
appropriate.

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 11 of 20

SECOND CAUSE OF ACTION:

1. For compensatory damages, including both survival damages and wrongful death
damages under federal and state law in an amount to be proven a trial;

2. For a funeral and burial expenses and loss of financial support;

3. For punitive damages against the individual Defendants GREGG LEE and DOES

1-10 in an amount to be proven at trial;

4. For interest;

5. For reasonable cost of this suit and attorney’s fees under state and federal law;

6. For such further relief at law or equity as the Court or jury may deem just and
appropriate.
THIRD CAUSE OF ACTION:

1. For compensatory damages, including both survival damages and wrongful death

damages under federal and state law in an amount to be proven a trial;
2. For a funeral and burial expenses and loss of financial support;
3. For punitive damages against the individual Defendants GREGG LEE and DOES

1-10 in an amount to be proven at trial;

 

4, For interest;

5. For reasonable cost of this suit and attorney’s fees under state and federal law;

6. For such further relief at law or equity as the Court or jury may deem just and
appropriate.
FOURTH CAUSE OF ACTION:

1. For compensatory damages, including both survival damages and wrongful death

damages under federal and state law in an amount to be proven a trial;

2. For a funeral and burial expenses and loss of financial support;

3. For punitive damages against the individual Defendants GREGG LEE and DOES
1-10 in an amount to be proven at trial;

4. For interest;

5. For reasonable cost of this suit and attorney’s fees under state and federal law;

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 12 of 20

6. For such further relief at law or equity as the Court or jury may deem just and
appropriate.
DATED: October 5, 2021 By. /s/ Joseph A. Welch

 

JOSEPH A. WELCH, ESQ.
Attorney for Plaintiff, VIRGINIA
JOHANSEN

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 13 of 20

DEMAND FOR JURY TRIAL
Plaintiffs hereby demand a jury trial.
DATED: October 5, 2021 By /s! Joseph A. Welch
JOSEPH A. WELCH, ESQ.

Attorney for Plaintiff, VIRGINIA
JOHANSEN

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FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 14 of 20

EXHIBIT A
Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 15 of 20

"

CLAIM AGAINST THE COUNTY OF NAPA _ NO.
= ‘ , For Clerk's Use Only
atmstonetsiearsn, California Government Code Section 910 describes the information which must be contained ina
Atonninentte Seve Claim against a government entity. Section 911.2 provides that claims arising from a death, or
personal injury, or damage to personal property or growing crops must be presented not later
than six (6) months after the occurrence on which the claim is based. This form or any other
form containing the same information may be used to present such a claim against the County
of Napa. The County reserves the right to reject any claim presented fo it.

 

 

 

 

 

 

 

Page 1 of 2
1. Name and address of Claimant Telephone Numbers
First Name MI Last Name Home
Virginia Johansen
Street Address Business
P.O. Box 1072
City State Zip Code Cellular
Newcastle CA 95658 (209) 204-5164
e-mail

gnd2@hotmail.com

 

 

2. Mailing address to which notices from the County are to be directed

 

 

 

 

 

Street Address
Law Offices of Joseph A. Welch 828 University Avenue
City State Zip Code
Joseph A. Welch, Esq. Sacramento CA 95825
3. Incident Information
Date of Incident: Time of Incident: Location of Incident:
4/24/2020 Daylight On or near S-29 in Napa County, California

 

 

 

Please note that space is limited. If additional space is needed, please attach the information on a separate sheet of paper.
4. Description of incident or accident including your reason for believing the County is liable for your damages

See attached.

 

 

 

 

 

 

 

 

 

5. Description of all damages which you believe that you have incurred as a result of the incident

 

See attached.

 

 

 

 

 

 

 

 
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 16 of 20
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Page 2 of 2
6. The name or names of any County employees causing damages that you are claiming

 

Napa County Sheriff Deputy Gregg Lee

 

 

 

 

 

 

 

7. ifthe amount claimed is $10,000.00 or less, specify the amount of the claim, including, the estimated
amount of any prospective injury, damage or loss insofar as it may be known at this time, together with

 

Damages exceed $10,000.00

 

 

if the amount is for more than $10,000, will this claim be a “limited civil case?" CI yes [¥] no

 

8. If this claim is for indemnity, on what date were you served with the underlying lawsuit?

 

lf a lawsuit has already been filed, please enter the date of the judgment against you: N/A

 

 

9. State the names and address of any witnesses to this incident

 

 

First Name MI Last Name
Gregg Lee - Napa County Sheriff's Deputy
Street Address

Also, an unidentified Deputy Sheriff

 

City State Zip Code

 

 

40. Law Enforcement Information

 

Was local law enforcement contacted? £X yes [1] no
If yes, Report# Unknown (Attach copy of report if available)

 

 

 

I declare under penalty of perjury that the forgoing is true and correct and, to the best of my knowledge, | have complied
with the provisions of the Government Code.

= August 6, 2020
jy ’ ; g '

laimant (Original Sighdt é Date Signed

  

    
  

   

Signature 9

Submit Completed Claim Form to: Clerk of the Board of Supervisors, 1195 Third Street, Suite 310, Napa, CA 94559

 

 
Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 17 of 20

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According to the Napa County Sheriff's Office Internet posting made shortly after the
fatal shooting on April 24, 2020, 24-year-old Brandan Reid Nylander allegedly entered a Wal-
Mart in Napa County and allegedly used a hammer to shatter a glass display case containing
ammunition. Brandan allegedly grabbed a box of shotgun shells and threw the hammer, hitting a
Wal-Mart employee. Napa County Sheriff Deputy Gregg Lee received a dispatch describing
Brandan and his vehicle. Approximately 20 minutes later, Deputy Lee spotted Brandan driving
on SR-29. Brandon allegedly led Deputy Lee on a pursuit that lasted approximately three
minutes.

At the end of the pursuit, Brandan exited his vehicle and allegedly pointed a loaded
shotgun at two deputies. These facts are obviously in dispute as evidenced by a reasonable
interpretation of the video posted by the Napa County Sheriff's Office shortly after the shooting.
Apparently, whatever Deputy Lee saw, “prompted” him to fire two shots at Brandan‘s back.
Both shots missed.

The more reasonable interpretation of the video reveals that Brandan stepped out of his
car without pointing the shotgun at anyone and did not exhibit any intent to assault the two
deputies. Brandan actually immediately raised both hands and fully extended his arms into the
air with his left hand on the forearm of the shotgun, his back to the deputies and no immediate
ability to fire the shotgun or intent to hurt anyone. The video reveals a visible cast on his right
hand, which was fully extended upward into the air. If anything, Brandan appeared to be
attempting to comply with the deputies’ presumed commands to raise his arms and put his back
to the deputies.

Before Brandan could take five steps, with his back to Deputy Lee, two final shots were
fired, presumably at the center mass of Brandan’s back. On his fifth step, Brandan was fatally
struck twice in the back without making any furtive or deliberate moves toward the deputies. As
illustrated by the video released by the Napa County Sheriffs Office, Brandan did not make a
single move in an attempt to use the firearm in a threatening manner. At the moment that
Brandan was killed, it was physically impossible for him to shoot/assault the deputies. This is the
most plausible explanation why one deputy did not fire his/her weapon. Both bullets struck
Brandan from behind while he stood with his back to the deputies.
Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 18 of 20
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, Penal Code 835(e){2) states:

“A threat of death or serious bodily injury is “IMMINENT” when, based on the

totality of the circumstances, a reasonable officer in the same situation would

believe that a person has the present ability, opportunity, and apparent intent to

immediately cause death or serious bodily injury to the peace officer or another

person. An imminent harm is not merely a fear of future harm, no matter how

great the fear and no matter how great the likelihood of the harm, but is one

that, from appearances, must be instantly confronted and addressed.”

Clearly, the video reveals that Brandan did not have “the present ability, opportunity and
apparent intent” to “immediately cause death or serious bodily injury” to Deputy Lee or the other
deputy. There was absolutely no need to shoot Brandan in the back while he had his arms fully
extended upward with his left hand on the forearm of the shotgun, his right hand in a cast, and
his back to the deputies. A reasonable sheriff's deputy need only engage his common sense to
understand that Brandan could not “immediately cause death or serious bodily injury” to anyone

while in the position described above. It is obvious that Deputy Lee violated the law enforcement

standards set forth in Penal Code 835.
Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 19 of 20
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a . Description of all damages you believe that you have incurred as a result of the
incident:

Brandan was only 24 years old when he was tragically killed. He grew up in Placer
County. Brandan was raised by a single mother who passed away in 2012. His father’s identity is
unknown. However, Brandan had a strong extended family that included his maternal
grandmother Virginia Johansen, two maternal uncles and one maternal aunt. Brandan graduated
from high school and had a strong employment history. Brandan moved to Napa to live with his
uncle and to pursue his dream of becoming an electrician.

Ms. Johansen was very active in Brandan’s upbringing. They were very close. Ms.
Johansen has been deprived of the love and society of her closest grandchild and will dearly miss
Brandan. She has also been deprived of the future financial support that he would have

contributed to the family. The above-described damages will be determined according to proof.
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Case 4:21-cv-01892-YGR Document 20 Filed 10/05/21 Page 20 of 20

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COURT: . - Napa County Superior Court
CASE NO. TBD
CASE NAME: Johansen v. Napa County, et al
PROOF OF SERVICE

I am a citizen of the United States, employed in the County of Sacramento, State off
California. My business address is 828 University Avenue, Sacramento, California 95825. I am
over the age of 18 years and not a party to the above-entitled action.

I am readily familiar with the Law Offices of Joseph A. Welch’s practice for collection
and processing of correspondence for mailing with the United States Postal Service. Pursuant to
said practice, each document is placed in an envelope, the envelope is sealed, the appropriate
postage is placed thereon and the sealed envelope is placed in the office mail receptacle. Each
day’s mail is collected and deposited in a U.S. mailbox at or before the close of each day’s
business. (Code Civ. Proc. section 1013a(3)).

On the date listed below, I served CLAIM AGAINST THE COUNTY OF NAPA as
follows:

DX] MAIL ---
Placed in the United States Mail at Sacramento, California in an envelope with postage
thereon fully prepaid addressed as follows:

Clerk of the Board of Supervisors
1195 Third Street, Suite 310
Napa, CA 94559

O FAX AND MAIL---
I personally sent to the addressee’s telecopier number indicated below a true copy of the above-described
document(s) before 5:00 p.m. I verified transmission without error by a transmission report issued by the
facsimile machine upon which said transmission was made immediately following the transmission,
Thereafter, ] placed a true copy in a sealed envelope with first class postage affixed and mailed as follows:

[] PERSONAL SERVICE---
By causing delivered by hand to the addressee addressed as follows:

CJ FEDERAL EXPRESS---
By causing delivery by Federal Express of the document(s) listed above to the person(s) at the address(es)
set forth below.

x (State) 1 declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

Executed on August “AU at iri 4
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DEBBIE M. DREWICK

 

 

CLAIM AGAINST THE COUNTY OF NAPA
